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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JERMAINE RAINES,                    )
                                    )
     Plaintiff,                     )
                                    )         CIVIL ACTION NO.
     v.                             )           2:19cv680-MHT
                                    )                (WO)
ELL WHITE, et al.,                  )
                                    )
     Defendants.                    )

                              JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The       United          States      Magistrate       Judge's

recommendation (doc. no. 28) is adopted.

    (2) This lawsuit is dismissed without prejudice,

with no costs taxed.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil      docket     as   a   final   judgment

pursuant   to   Rule    58   of    the     Federal    Rules   of   Civil

Procedure.
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This case is closed.

DONE, this the 28th day of September, 2020.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
